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     IT IS ORDERED as set forth below:



     Date: March 3, 2021
                                                  ________________________________
                                                              Paul Baisier
                                                      U.S. Bankruptcy Court Judge

     _______________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

                                              )         CHAPTER 7
IN RE:                                        )
                                              )         CASE NO. 18-71767-PMB
MICHAEL J. BLYDENSTEIN,                       )
                                              )
                                              )
         Debtor.                              )
                                              )
                                              )
S. GREGORY HAYS, Chapter 7 Trustee            )
for the Estate of Michael J. Blydenstein,     )
                                              )
                                              )
         Movant,                              )
v.                                            )         CONTESTED MATTER
                                              )
PINGORA LOAN SERVICING, LLC;                  )
FULTON COUNTY TAX COMMISSIONER;               )
GORDON LOFTS CONDOMINIUM                      )
ASSOCIATION, INC.,                            )
                                              )
         Respondents.                         )
                                              )

 ORDER ON TRUSTEE’S MOTION FOR AUTHORITY TO (A) SELL REAL PROPERTY
     OF THE ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
    ENCUMBRANCES AND (B) DISBURSE CERTAIN PROCEEDS AT CLOSING


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        On February 4, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Michael J. Blydenstein (the “Debtor”), filed Trustee’s Second

Motion for Authority to (A) Sell Real Property of the Bankruptcy Estate Free and Clear of All Liens,

Interests, and Encumbrances and (B) Disburse Certain Proceeds at Closing [Doc. No. 72] (the

“Second Sale Motion”), seeking, among other things, an order from the Court, authorizing the sale

(the “Sale”) of that certain improved real property with a common address of 215 Mitchell Street,

#9, Atlanta, Fulton County, Georgia 30303 (the “Property”) to ELS Property Solutions, LLC (the

“Purchaser”) “as-is, where-is, with all faults” for an all-cash sale price of $270,000.00 (the

“Purchase Price”) in accordance with the terms of a Trustee’s Purchase and Sale Agreement (the

“Sale Agreement”) attached to the Second Sale Motion as Exhibit “A.”

        Also on February 4, 2021, Trustee filed a Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 74] (the “Notice”), regarding the Second Sale Motion, in accordance with

General Order No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite

parties in interest on February 4, 2021. [Doc. No. 75].

        Notice of the opportunity to object and for hearing was provided pursuant to the procedures

in General Order No. 24-2018 and no objection to the Second Sale Motion was filed prior to the

objection deadline. The Court has considered the Second Sale Motion and all other matters of

record, including the lack of objection thereto. Based on the forgoing, no further notice or hearing is

required and the Court finds that good cause exists to grant the relief requested in the Second Sale

Motion. It is hereby

        ORDERED that the Second Sale Motion is GRANTED. It is further

        ORDERED that Trustee is authorized and directed to take any and all actions necessary or




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appropriate to (i) consummate the Sale of the Property to Purchaser, (ii) execute, perform,

consummate, implement, and close fully the Sale together with all additional instruments and

documents that may be reasonably necessary; and (iii) execute and perform all of the obligations of

Trustee under the Sale Agreement. It is further

        ORDERED that this Order shall be binding upon all creditors (whether known or unknown)

of Debtor, the Trustee, the Bankruptcy Estate, and their respective successors, assigns, affiliates, and

subsidiaries. It is further

        ORDERED that upon consummation of the closing of the Sale, the Property shall be

transferred and assigned to Purchaser free and clear of all liens, claims, interests, and encumbrances

with all valid and enforceable liens, claims, or interests attaching to the sale proceeds with the same

extent, validity, and priority that they held in the Property. It is further

        ORDERED that the Sale of the Property to the Purchaser is “as is,” “where is,” and without

representation or warranty, express or implied, from Trustee. It is further

        ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, Trustee and Purchaser are free to close the Sale

of the Property at any time, at which time the gross sales proceeds shall be paid to Trustee pursuant

to this Order, and those disbursements requested by Trustee in his Sale Motion are authorized to be

made. It is further

        ORDERED that this Court retains exclusive jurisdiction over any action relating to, based

upon, or arising from disputes or controversies relating to or concerning the Sale, the Sale

Agreement, or this Order. It is further

        ORDERED that this Court’s previous Order pertaining to sale of the Property entered



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October 20, 2020 [Doc. No. 70] is vacated in its entirety.

                                      [END OF DOCUMENT]

Order prepared and presented by:

HERBERT C. BROADFOOT II, P.C.
Attorney for Chapter 7 Trustee

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Identification of parties to be served:

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Atlanta, Georgia 30303

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Hays Financial Consulting, LLC
Suite 555, 2964 Peachtree Road
Atlanta, GA 30305

Arthur E. Ferdinand
Fulton County Tax Commissioner
141 Pryor Street
Atlanta, GA 30303

Gordon Lofts Condominium Association, Inc.
c/o Miye Johnson Yi
Winter Capriola Zenner, LLC
3490 Piedmont Road, N.E., Suite 800
Atlanta, GA 30305


Cenlar
c/o Bryce Noel



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